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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

LEARNING RESOURCES, INC., et al.,          )
                                           )
                             Plaintiffs,   )      Civil Action No. 1:25-cv-01248-RC
v.                                         )
                                           )
DONALD J. TRUMP, et al.                    )
                             Defendants.   )
                                           )


  JOINT BRIEF OF AMICI CURIAE FORMER SENATOR AND GOVERNOR GEORGE F.
  ALLEN, PROFESSOR STEVEN CALABRESI, ATTORNEY JOSHUA A. CLAYBOURN,
     FORMER SENATOR AND AMBASSADOR TO THE UNITED NATIONS JOHN C.
      DANFORTH, PROFESSOR RICHARD A. EPSTEIN, FORMER SENATOR AND
 SECRETARY OF DEFENSE CHARLES T. HAGEL, PROFESSOR AND FORMER DEAN
 HAROLD HONGJU KOH, PROFESSOR GERARD N. MAGLIOCCA, PROFESSOR AND
 FORMER JUDGE MICHAEL W. McCONNELL, FORMER ATTORNEY GENERAL AND
 JUDGE MICHAEL B. MUKASEY, PROFESSOR ALAN SYKES, FORMER JUDGE JOHN
 DANIEL TINDER, FORMER WHITE HOUSE COUNSEL PETER WALLISON, FORMER
   STATE DEPARTMENT COUNSELOR AND DIRECTOR OF THE 9/11 COMMISSION
    PHILIP ZELIKOW IN SUPPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY
                                INJUNCTION


Michael W. McConnell                                   Daniel W. Wolff (Bar No. 486733)
559 Nathan Abbott Way                                  CROWELL & MORING LLP
Stanford, CA 94305                                     1001 Pennsylvania Avenue, NW
Telephone: (650) 736-1326                              Telephone: (202) 624-2500
mcconnell@law.stanford.edu                             Email: dwolff@crowell.com

Of Counsel                                             Attorney to Amici Curiae
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                                  INTEREST OF AMICI CURIAE

          Amici are constitutional scholars, legal historians, public lawyers, retired federal appellate

judges, a former United States Attorney General, and three former United States Senators united

by a common conviction: the endurance of the American Republic depends not only on elections

or policy outcomes, but on the faithful preservation of its constitutional structure. They span the

ideological spectrum, joined not by partisanship but by a common concern over the erosion of

Congress’s Article I authority.

          Amici do not appear to defend or oppose any particular trade policy. They file this brief

because they believe the Constitution draws bright lines between legislative and executive

power—and that those lines are being blurred in ways that threaten democratic accountability

itself.

                      INTRODUCTION AND SUMMARY OF ARGUMENT

          This dispute is not about the wisdom of tariffs or the politics of trade. It is about who holds

the power to tax the American people. May a President, absent a clear delegation from Congress

and without guidance that amounts to an intelligible principle, unilaterally impose sweeping tariffs

under laws never designed for that purpose? This is not a debate over outcomes but a test of

structure. It asks not what should happen, but who decides.

          The Constitution gives a clear answer. Article I vests Congress—not the President—with

the power to “lay and collect Taxes, Duties, Imposts and Excises,” and to “regulate Commerce

with foreign Nations.” Unless Congress has delegated that authority through a valid and clearly

bounded framework, the President may not impose tariffs. As the Supreme Court made plain in

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952), presidential power must stem from

the Constitution or an act of Congress. Here, it does neither.

          In April 2025, President Trump proclaimed a sweeping tariff regime that touches nearly

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every imported good sold in the United States. The measures include a 10% baseline tariff on all

imports and a 34% duty on Chinese goods (raising total tariffs to 65%). These levies did not arise

from legislation. They were not the product of congressional debate or any statutory process. Nor

were they supported by specific findings under existing trade laws. On April 9, 2025, President

Trump announced a 90-day pause on most of these tariffs, except for those on Chinese imports,

which were increased to 145%. The baseline 10% tariffs on nearly every country remained in

effect.

          But no statute authorizes what the President has done. The laws cited permit limited and

targeted actions under narrow conditions. They do not authorize sweeping economic realignment.

They do not permit unilateral taxation of vast sectors of the U.S. economy. These duties came not

from Congress, but from a claim of executive power detached from constitutional limits.

          The International Emergency Economic Powers Act (IEEPA), the central statute invoked,

cannot bear this weight. Enacted in 1977 to rein in presidential overreach, IEEPA allows the

President to impose sanctions in response to genuine emergencies—not to reorder the economy in

response to long-term trends.

          The history is revealing. Reacting to President Nixon’s unprecedented assertion of

authority under the Trading With The Enemy Act of 1917 (TWEA) to impose import surcharges,

Congress passed new legislation “for use in time of national emergency which are both more

limited in scope than those of [TWEA] and subject to various procedural limitations.” H.R. Rep.

No. 95-459, at 2 (1977) (emphasis added). Notably, the Trade Act of 1974 explicitly granted the

executive authority to increase tariffs in response to balance of trade deficits, subjecting that

authority to strict procedural, substantive, and temporal limits (not satisfied here), while IEEPA

was confined to non-tariff economic sanctions, To infer that Congress delegated sweeping



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emergency tariff authority to the President would precisely invert what really happened. Indeed, if

IEEPA were interpreted to allow the President to impose, revoke, or adjust tariffs at will, it would

undo the limits on that power embodied in the Trade Act, its sister statute, and produce Nixonian

power on steroids.

        The core principle urged by amici is this: IEEPA and related statutes do not grant the

President the power to impose tariffs of this kind or scope. That power remains squarely within

the legislative domain. The Constitution places decisions about taxation and commerce in

Congress’s hands—not as a formality, but as a structural safeguard of democratic accountability.

        The President’s actions here violate the limits of that structure. The statutes he invoked

were never meant to authorize unilateral lawmaking. Yet he used them to bypass bicameralism

and presentment—the very processes that make government accountable. He now claims an open-

ended emergency power that, if upheld, would let any President reshape the economy without

Congress.

        To be clear, amici do not argue that the Executive lacks all authority under IEEPA or

Section 301. Congress has delegated some powers under specific conditions. But those powers do

not include imposing across-the-board tariffs untethered from any statutory criteria. They do not

include the authority to bypass Congress in matters of taxation. And they do not authorize the

President to override constitutional structure by invoking an “emergency.”

        This case is not about trade any more than Youngstown was about steel or Alabama Ass’n

of Realtors v. Dep’t of Health & Hum. Servs., 594 U.S. 758 (2021) was about landlord-tenant law.

It is about power—who has it, and who must authorize its use. The principle remains: “[t]he

President’s power, if any, to issue the order must stem either from an act of Congress or from the

Constitution itself.” Youngstown, 343 U.S. at 585.



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        This case requests this Court apply the principles which have been reaffirmed time and

again: that Congress makes the law, and the Executive enforces it; that major policies require

explicit legislation; and that the Constitution does not permit taxation by proclamation. These

principles are neither new nor partisan. They are the foundation of the American republic.

        The Court should conclude that plaintiffs are likely to succeed on the merits of showing

that the statutes invoked by the President do not authorize the imposition of general tariffs; that

such authority remains with Congress; and that the separation of powers is not a matter of

convenience, but of constitutional command. Accordingly, the Court should grant plaintiffs the

relief they seek.

                                         ARGUMENT

I.      Congress, Not the President, Has the Power to Impose Tariffs.

        From the founding of the Republic, the power to impose tariffs—like the power to levy

taxes—has belonged exclusively to Congress. This is no formality. This nation was born of the

slogan “No taxation without representation,” which means that the authority to tax, raise revenue,

and shape the public’s economic obligations must rest with the people’s elected representatives.1

        The Constitution is explicit. Article I, Section 8 grants Congress the power “[t]o lay and

collect Taxes, Duties, Imposts and Excises” and “[t]o regulate Commerce with foreign Nations.”

U.S. Const. art. I, § 8. These provisions were not afterthoughts—they were foundational. As James

Madison wrote in The Federalist No. 58, vesting control of taxation in the legislature served as a

deliberate check on executive power, born of colonial resistance to Crown-imposed duties levied

without consent. That structural safeguard ensures that only a geographically diverse and



1
 See Michael W. McConnell, THE PRESIDENT WHO WOULD NOT BE KING: EXECUTIVE POWER
UNDER THE CONSTITUTION 100-107, 214-220 (2020) (explaining that the Constitution vests the
powers to tax and regulate commerce in Congress as part of its core structural design).

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representative Congress—not the Executive—may impose economic burdens on the people.

        Tariffs fall squarely within this constitutional design. If the Framers had merely used the

term “taxes,” this would have encompassed tariffs, which are taxes. But the Framers went out of

their way to list “duties” and “imposts” as within the legislative domain. And no wonder: the

Framers expected that the “impost,” which meant tariffs, would generate sufficient revenue to pay

for most of the ordinary operations of the federal government in peacetime. McConnell, supra, at

101. Tariffs lay at the core of the taxing power.

        Congress historically guarded this authority with care. The Tariff Act of 1789—among the

first laws passed under the new Constitution—imposed duties across a broad range of imported

goods. It was introduced in the House, debated in both chambers, amended, and enacted through

the full machinery of legislative deliberation. For more than a century, tariff policy remained one

of the most visible and contested areas of congressional action, often shaping party lines and

national elections. Tariffs were the centerpiece of Henry Clay’s “American System,” and the so-

called “Tariff of Abominations” was the impetus for the Nullification Crisis of 1832-33. Whether

popular or unpopular, it was Congress—not the President—that decided which goods to tax, at

what rates, and for what ends.

        From the beginning of the Republic, Congress has distinguished between delegations of

authority to impose taxes, including tariffs, which are the core of Congress’s power of the purse,

and delegations of authority to impose embargoes and other non-tax economic sanctions, which

inextricably relate to foreign policy, a largely presidential domain. Both require express

congressional delegation, but the President has been given far more latitude to impose and remove

embargoes in the service of foreign policy objectives, while tariff authority has invariably been

narrowly limited in time, amount, and purpose.



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        The Trade Act of 1974 and the Trade Expansion Act of 1962 exemplify this approach.

They allow the Executive to address unfair trade practices or national security threats, but only

within carefully prescribed limits. Even then, these statutes do not—and constitutionally cannot—

authorize the President to enact a sweeping tariff regime absent new legislation.

        The Framers’ decision to allocate lawmaking to a representative body and execution to a

single executive serves practical as well as theoretical purposes. Legislatures – especially

bicameral legislatures – are by their nature deliberative, and therefore slower to change course, by

comparison to the executive, whose singular virtues include “energy” and “dispatch.” They well

understood what Madison called the “mischievous effects of a mutable government,” and sought

to guard against it by the bicameral structure of Congress. THE FEDERALIST, No. 62, at 420 (Jacob

E. Cooke ed. 1961). As Madison explained, “It will be of little avail to the people, that the laws

are made by men of their own choice, if the laws . . . be repealed or revised before they are

promulgated, or undergo such incessant changes that no man, who knows what the law is to-day,

can guess what it will be to-morrow.” He posed the question: “What prudent merchant will hazard

his fortunes in any new branch of commerce when he knows not but that his plans may be rendered

unlawful before they can be executed? What farmer or manufacturer will lay himself out for the

encouragement given to any particular cultivation or establishment, when he can have no assurance

that his preparatory labors and advances will not render him a victim to an inconstant

government?” Id. at 421-22. So, too of American merchants and manufacturers today, whose

decisions are affected by the cost of imported goods and materials. It is not an argument for one

tariff policy over another to observe the wisdom of the Constitution’s assignment of these powers

to the branch most likely to pursue a consistent and predictable policy.




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II.     IEEPA Does Not Authorize Tariffs.

        The Administration’s statutory claim rests on the International Emergency Economic

Powers Act (“IEEPA”), 50 U.S.C. §§ 1701–1707. That reliance is misplaced. Unlike every statute

delegating tariff-setting authority, IEEPA makes no mention of tariffs, duties, or imposts. No

President other than Mr. Trump has ever purported to impose tariffs under IEEPA. Christoper A.

Casey, et al., The International Emergency Economic Powers Act: Origins, Evolution, and Use 27

(Cong. Res. Serv. R45618, 2020). The statute was never meant, and has never been understood, to

authorize the President to impose or revise tariffs. IEEPA’s text, context, and legislative history

point to a different purpose: to empower the President to block or freeze foreign assets and

financial transactions in targeted, temporary ways—not to raise revenue or rewrite the core terms

of international commerce.

        Another statute, the Trade Act of 1974, enacted just before IEEPA, explicitly authorizes

the executive to raise, lower, or revise tariffs, subject to detailed substantive and procedural

limitations. To read IEEPA as implicitly granting carte blanche to the President over tariffs

without any such limitations, whenever he declares the existence of an emergency, would render

the carefully-wrought provisions of the Trade Act pointless.

        A.      IEEPA Does Not Mention Tariffs—Because It Was Never Meant To.

        IEEPA grants the President certain defined authorities to regulate international economic

transactions upon declaring a national emergency “to deal with any unusual and extraordinary

threat … to the national security, foreign policy, or economy of the United States, if the President

declares a national emergency with respect to such threat.” 50 U.S.C. § 1701(a). Once that

condition is met, the statute permits the President to “investigate, regulate, or prohibit . . . transfers

of credit or payments . . . involv[ing] any interest of any foreign country or a national thereof, by

any person . . . subject to the jurisdiction of the United States.” Id. § 1702(a)(1)(A)(ii). The term

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“emergency” does not extend to every problem that is serious or threatening, but only to those that

are “sudden, unexpected, or impending.” BLACK’S LAW DICTIONARY (2d ed.). The term “regulate

. . . importation” of foreign goods does not extend to imposing taxes, but in context refers only to

the quantitative limitations traditionally part of the President’s foreign affairs authority. See Tom

Campbell, Presidential Authority to Impose Tariffs, 83 LA. L. REV. 595 (2023). Although Congress

may use its plenary taxing power to achieve regulatory ends, the converse is not true: the power to

regulate is not the power to tax.

        Upon a presidential proclamation of emergency under IEEPA, Section 1702(b) permits the

President to “investigate, regulate, direct and compel, nullify, void, prevent or prohibit” the

acquisition, use, or transfer of property owned by a foreign nation or individual. This enables the

executive branch, in a foreign policy crisis, to block transactions, freeze assets, and seize, or

sequester foreign property. See Patrick A. Thronson, Toward Comprehensive Reform of America’s

Emergency Law Regime, 46 U. Mich. J. L. Ref. 737, 758 (2013) (“The IEEPA thus grants the

Executive Branch the power to freeze the assets of, and prohibit financial transactions involving,

individuals designated by Executive Order. This includes the power to prohibit bank payments and

transfers of credit insofar as they "involve" an interest of a designated person, entity, or country,

and to prohibit the holding, use, or transfer of property implicating a relevant foreign interest.”)

Notably, Congress employed seven different verbs to capture the intended types of economic

sanction, but did not include the term “tax” or any of its synonyms. If Congress had intended to

delegate the power of taxing ordinary commerce, it surely would have said so.

        Moreover, all the permitted presidential actions have their effects abroad; IEEPA did not

authorize the President to tax or regulate the domestic activities or property of Americans. Tariffs,

unlike the foreign sanctions explicitly authorized under IEEPA, are taxes paid by Americans. They



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fall squarely within Congress’s taxing power and, under the Constitution, require the explicit

consent of the people’s representatives.

        The absence of tariff language in IEEPA stands in sharp contrast to statutes where Congress

has affirmatively granted such power. When Congress intends to authorize duties, it says so.

Section 301 of the Trade Act of 1974 allows the President to “impose duties or other import

restrictions.” 19 U.S.C. § 2411(c)(1)(B). Section 201 of that same Act empowers the President to

“proclaim an increase in, or the imposition of, any duty on the imported article” or to “proclaim a

tariff-rate quota.” 19 U.S.C. § 2251(a)(3)(A), (B). Similarly, Section 232 of the Trade Expansion

Act authorizes the adjustment of “duties” on imports, 19 U.S.C. § 1862(a), and grants authority to

“adjust the imports.” Id. § 1862(c). In each case, Congress spoke with clarity when it intended to

delegate authority over tariffs and it encumbered the grant of authority with procedural and

substantive conditions and prerequisites.

        If IEEPA meant what the government says it means, it would enable the President to

impose, revoke, or change tariffs for essentially any reason he describes as an emergency, without

complying with any of the limitations that Congress attached to every statute delegating tariff

authority. According to this argument, IEEPA silently repealed all those limits, without any

member of Congress seeming to notice. That interpretation is contrary to the time-honored rule

that absent “a clearly expressed congressional intention,” Morton v. Mancari, 417 U. S. 535, 551

(1974), “repeals by implication are not favored,” Universal Interpretive Shuttle Corp. v.

Washington Metropolitan Area Transit Comm'n, 393 U. S. 186, 193 (1968). An implied repeal

will only be found where provisions in two statutes are in “irreconcilable conflict,” or where the

latter Act covers the whole subject of the earlier one and “is clearly intended as a substitute.”

Posadas v. National City Bank, 296 U. S. 497, 503 (1936). Nor should the court find that the



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generalized language of IEEPA, which does not even mention tariffs, supersedes the specific

language of laws granting the executive branch only circumscribed authority to impose tariffs.

        The more specific tariff-authorizing statutes cannot support the President’s current action

either. The President has not specifically invoked the authority of Trade Act of 1974 or the Trade

Expansion Act in support of his April 2 tariffs, and for good reason. Section 122 of the Trade Act

authorizes import surcharges of 15% for no more than 150 days “to deal with large and serious

United States balance-of-payments deficits.” President Trumps’s tariffs exceed that limit and

would last far longer. Section 201 is even farther afield. It allows targeted tariff increases upon a

finding by the United States International Trade Commission that increased imports of a product

are causing substantial injury to the domestic industry producing that product. There have been no

such findings here. Indeed, across-the-board tariffs of 10% on all imports – including nations

where the United States enjoys a trade surplus – bear no resemblance to the targeted tariff increases

contemplated by this provision. Section 301 of the Act authorizes “duties or other import

restrictions” on foreign nations that have been found—after notice and investigation—to have

committed unfair trade practices or violated trade agreements with the United States. There have

been no such investigations, and no notice to the nations involved. In any event, this provision has

largely been superseded by investigations and proceedings under the World Trade Organization

framework. Section 232 of the Trade Expansion Act concerns national security threats, yet no

plausible finding has been made—or could be made—that every product from every nation in the

world poses such a threat. The Administration has not even invoked these statutes in support of

the tariffs at issue. Their existence, however, makes it even more implausible that IEEPA silently

conveys limitless powers that these statutes convey only through express, narrow limits and

accompanied by procedural safeguards.



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        B.      Congress Deliberately Rejected Tariff Authority In IEEPA.

        The context of the enactment of IEEPA makes clear that Congress did not intend to

delegate tariff authority to the President. On the contrary, Congress enacted IEEPA in 1977 in

response to President Richard Nixon’s unprecedented assertion of the authority to increase tariffs

under the Trading With The Enemy Act of 1917 (TWEA), Pub. L. No. 65-91, 40 Stat. 411 (1917),

in 1971. The TWEA, a World War I–era statute that originally applied only in wartime, gave the

President authority to impose economic sanctions against other nations whose actions threaten our

national security. The TWEA did not mention tariffs, and until 1971 was never invoked by any

President to impose them.

        In that year, President Nixon declared a national emergency and imposed a 10% import

surcharge (an extra tariff), purportedly under the authority of the TWEA. Nixon asserted that

language in the TWEA allowing the executive to “regulate . . . imports . . . by means of instructions,

licenses, or otherwise” was broad enough to permit him to add a 10% surcharge to the existing

tariffs that had been imposed by Congress. This surcharge lasted less than five months; it was

withdrawn in December 1971. A zipper importer, Yoshida International, filed a lawsuit

challenging the legality of the surcharge and seeking a refund of taxes paid. By the time a court

could render a decision, the import surcharge had lapsed. Although a three-judge panel of the

Customs Court concluded that the tariff surcharge was illegal, Yoshida Int’l, Inc. v. United States,

378 F.Supp. 1155 (C.C. 1974), the Court of Customs and Patent Appeals later reversed, upholding

Nixon’s action. It found that TWEA’s “express delegation” of power to the President “is broad

indeed,” such that the power to impose tariffs could be inferred from the power to “regulate”

imports during a crisis, in the absence of any statute “’providing procedures’ for dealing with a

national emergency involving a balance of payments problem such as that which existed in 1971.”

Yoshida Int’l, Inc. v. United States, 526 F.2d 560, 574–75 (C.C.P.A. 1975), quoting Youngstown
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Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952) (“legislation delegating restrictive regulatory

authority cannot operate, merely upon the declaration of an emergency, to the exclusion of other

legislative acts providing procedures prescribed by the Congress for the accomplishment of the

very purpose sought to be attained by Presidential Proclamation”).2

        While the Yoshida litigation was still pending, Congress passed just such a statute. It

repealed the TWEA, replacing it with the Trade Act of 1974, Pub. L. No. 93-618, § 122, 88 Stat.

1978, 1991 (codified at 19 U.S.C. § 2132), which for the first time gave the executive explicit

authority to revise tariffs in response to trade deficits – the very power President Nixon had

asserted under the TWEA, subject to strict substantive and procedural guardrails. The Trade Act

allowed the President to increase tariffs through an emergency import surcharge, but capped such

surcharges at 15% and permitted them to last no more than 150 days in the absence of “affirmative

authorization” by Congress. Id. Moreover, the Act required specific findings of unfair trade

practices by the nations subject to the surcharges. Congress thus made clear that if a President is

to have any emergency tariff power, it must come from a specifically tailored statute with clear

parameters, not an open-ended mandate.

        Only after Congress passed the Trade Act did the Court of Customs and Patent Appeals

reverse the trial court’s holding that the TWEA did not authorize presidential tariff increases.

Yoshida, supra. By that time, Congress had already enacted a carefully limited tariff authority,



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  In Yoshida, the court upheld President Nixon’s import surcharge precisely because it adhered to
previously established congressional tariff limits. Nixon’s surcharge applied only to goods
already benefiting from tariff reductions, and crucially, rates could never exceed Congress’s
original statutory maximum. By contrast, President Trump’s tariffs far exceed any previously
authorized congressional tariff ceilings, are not limited to goods previously receiving tariff
concessions, and impose new duties broadly and independently from any prior legislative
framework. This difference underscores why the Yoshida precedent does not support the
Administration’s expansive interpretation of executive tariff power here.

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which superseded the TWEA.

        Congress then enacted IEEPA. Having just enacted an explicit, and tightly limited, tariff

authority through the Trade Act, Congress did not incorporate any tariff language into IEEPA.

Congress’s decision in 1977 to retain TWEA’s general language (“regulate importation…”) in

IEEPA without adding any tariff-specific provision strongly suggests that lawmakers did not

regard IEEPA as a vehicle for import taxes. Congress had already “provided procedures” for

emergency tariffs. Yoshida, 526 F.2d at 578, and those procedures – not IEEPA – would govern

future imposition of tariffs “dealing with a national emergency involving a balance of payments

problem.” Id. IEEPA was meant for other tools of economic sanctions (like freezing assets or

embargoing particular transactions), not for across-the-board duties.

        Congress further cut back on the power previously imparted by the TWEA in two ways.

First, it confined the original TWEA power to wartime, as had been the case between 1917 and

1933. See 50 U.S.C. § 4302. In peacetime, the President was permitted to impose regulations (with

no mention of tariffs) on imports only upon a declaration of emergency under the Emergencies

Act, which would be subject to fast-track review and invalidation by Congress. See Thronson, 46

U. Mich. J. L. Ref. at 743-53. This effectively barred any future action of the sort taken by

President Nixon, unless it was approved by Congress.

        Over a decade later, the Supreme Court declared legislative vetoes (like the one employed

in the Emergencies Act) unconstitutional, which stripped Congress of the central safeguard it had

enacted in 1977. INS v. Chadha, 462 U.S. 919 (1983). It is nonetheless a fallacy to impute to

Congress the intention to give the President unilateral tariff authority, when Congress voted

specifically to subject any such decisions to congressional review.

        The House Committee Report leaves no ambiguity: IEEPA was designed to provide “a



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new set of authorities for use in time of national emergency which are both more limited in scope

than those of [TWEA] and subject to various procedural limitations.” H.R. Rep. No. 95-459, at 2

(1977) (emphasis added). The Report expressed Congress’s view that President Nixon had used

the TWEA for purposes “which would not be contemplated in normal times.” Id. at 5. The Senate

Committee Report similarly emphasized that IEEPA should not be read to provide “a blank check

for presidential control over the economy.” S. Rep. No. 95-466, at 5–6 (1977).

        Nothing in IEEPA’s legislative history suggests that Congress intended to give the

President tariff-making power. The House Report accompanying the bill identified the key powers

carried over from TWEA that were deemed necessary for emergencies: controls on foreign

exchange transactions, banking transfers, and securities; regulation of property in which foreign

nationals have an interest; vesting (seizing) foreign-owned property; and handling or liquidating

such property for the United States’ benefit. See H.R. Rep. No. 95-459, at 1–2 (1977). Notably

absent from that list is any power to raise import duties or impose new tariffs. In fact, tariffs are

only addressed in a historical discussion of past uses of TWEA, not as a contemplated feature of

IEEPA. See id. at 5–6.

        C.      The Government’s Contrary Arguments Lack Merit.

        The slender thread on which the government bases its reliance on IEEPA is that Congress

used the same the term, “regulate . . . imports,” in IEEPA that had been present in the TWEA, and

which Yoshida held had supported Nixon’s tariff surcharges. The government asks this court to

infer that IEEPA has the same meaning as the TWEA and that Congress must have embraced the

broad interpretation of that language in Yoshida. There are multiple reasons to reject that argument.

        First, the court should interpret IEEPA in light of its language, and not according to

speculation that Congress might have accepted the interpretation given by one lower court to a

different statute, now repealed. That is especially clear because we know that Congress explicitly
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set out to cabin that authority, and substitute authorities “which are both more limited in scope

than those of [TWEA] and subject to various procedural limitations.” H.R. Rep. No. 95-459, at 2

(1977). It would turn the congressional intention on its head to read IEEPA as preserving the same

unbridled power that Nixon had asserted.

          Second, the court should not read IEEPA as giving the President sweeping tariff powers

when Congress had just enacted the Trade Act, which subjected presidential tariff authority to

strict substantive and procedural limits. The government’s interpretation would amount to an

implied repeal of the Trade Act and virtually every other tariff-specific delegation of power. As

Justice Frankfurter noted in Youngstown, “It is quite impossible, however, when Congress did

specifically address itself to a problem, as Congress did to that of seizure, to find secreted in the

interstices of legislation the very grant of power which Congress consciously withheld.” 343 U.S.

at 609.

          Third, the Yoshida court expressly repudiated the notion that the TWEA empowered the

President to “impos[e] whatever tariff rates he deems desirable,” which is the power claimed by

the government in this case. Yoshida, 526 F.2d at 578. The court emphasized the narrow and time-

limited nature of the Nixon tariff surcharge, and limited its holding accordingly. The court noted

that Nixon’s Executive Order “was limited to articles which had been the subject of prior tariff

concessions” and that the total tariff, with the surcharge, could not exceed the amount Congress

had enacted in “column 2 of the Tariff Schedules of the United States.” Id. at 577. The surcharge

lasted less than five months. “Far from attempting, therefore, to tear down or supplant the entire

tariff scheme of Congress, the President imposed a limited surcharge, as ‘a temporary measure’

calculated to help meet a particular national emergency.” Id. Indeed, the court suggested that such

a broad interpretation might render the statute unconstitutional. Id. at 580-583. To make this point



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crystal clear, the court declared that “[t]he declaration of a national emergency is not a talisman

enabling the President to rewrite the tariff schedules.” Id. at 583. Thus, even if this court were to

conclude that Congress somehow incorporated the Yoshida court’s interpretation of the TWEA

into the new IEEPA statute, this would not support the government’s extravagant claim of an

unlimited power to set tariffs in any declared emergency.

        The Yoshida court further emphasized, no fewer than four times in its opinion, that the

generalized provisions of the TWEA could be read to authorize President Nixon’s action only

because there then existed no statute containing “procedures prescribed by the Congress for the

accomplishment of the very purpose sought to be attained by [the presidential order].” 526 F.2d at

570, 578. A specific statute would govern instead of the TWEA. Congress thus knew that its

enactment of precisely such procedures in the Trade Act of 1974 would preclude a finding of

generalized tariff authority under the TWEA, under the logic and holding of Yoshida.

        The government simply ignores the congressional opposition to the Nixonian tariffs, the

enactment of time-limited and procedurally limited tariff authority in the Trade Act, and the

elimination of unilateral presidential emergency authority through the fast-track congressional

disapproval mechanism of the Emergency Act. To be sure, the congressional disapproval

procedure was rendered ineffective by the Chadha decision, but that decision came a decade later,

and it defies reason to impute to Congress the intention to give to the President precisely the

unilateral authority it so carefully (if ineffectually) curtailed.




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        D.      These Tariffs Are Permanent Policy Rather Than Emergency Measures.

        IEEPA was enacted to enable short-term, targeted responses to genuine, extraordinary

threats—not to authorize permanent alterations to the nation’s trade regime. Its very title—the

International Emergency Economic Powers Act—underscores this purpose: to grant the Executive

narrow powers to act swiftly during unforeseen emergencies. It is not a tool for addressing long-

standing policy concerns or for implementing structural reforms that require legislative debate.

        The tariffs imposed by the President in April 2025 are plainly at odds with that purpose.

They are not tied to a discrete or time-sensitive emergency. Nor are they temporary. On the

contrary, they are designed to remain in effect indefinitely and to respond to broad, persistent

conditions—such as global supply chain realignment, foreign industrial policy, and chronic trade

imbalances—that the Administration claims threaten American economic security in a general and

enduring way.

        President Trump has made no effort to conceal this long-term intent. He has explicitly

defended his tariff policy as a corrective to economic trends spanning more than two decades. The

official White House Fact Sheet explains that the President invoked IEEPA to address “the national

emergency posed by the large and persistent trade deficit.” It claims that “[f]or generations,

countries have taken advantage of the United States,” and cites the loss of “around 5 million

manufacturing jobs” from 1997 to 2024—a 27-year period. It also references Chinese trade

practices “between 2001 and 2018”—conduct that began nearly a quarter century ago and

concluded seven years prior. 3 These are not unforeseen emergencies. They are longstanding policy



3
 See Fact Sheet: President Donald J. Trump Declares National Emergency to Increase Our
Competitive Edge, Protect Our Sovereignty, and Strengthen Our National and Economic
Security, The White House (Apr. 2, 2025), https://www.whitehouse.gov/fact-sheets/2025/04/fact-
sheet-president-donald-j-trump-declares-national-emergency-to-increase-our-competitive-edge-
protect-our-sovereignty-and-strengthen-our-national-and-economic-security/.

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grievances, best addressed by Congress—not by emergency proclamation.

        The Administration has also touted these tariffs as a means of generating long-term

revenue. On April 2, President Trump predicted that the tariffs would generate “trillions and

trillions of dollars to reduce our taxes and pay down our national debt.” The Chair of the Council

of Economic Advisors echoed this aim, stating that “tariffs will help pay for both tax cuts and

deficit reduction.” 4 But tax cuts and budget deficits—however important—are not “unusual and

extraordinary threat[s]” under IEEPA. 50 U.S.C. § 1701(a). They are routine subjects of political

debate and legislative negotiation. Their invocation here confirms that these tariffs are not

temporary emergency measures, but a shift in fiscal and trade policy pursued through unilateral

executive action.

        E.      No President Has Ever Used IEEPA This Way.

        The Supreme Court has cautioned that “[w]hen an agency claims to discover in a long-

extant statute an unheralded power to regulate ‘a significant portion of the American economy,’

… we typically greet its announcement with a measure of skepticism.” Util. Air Regul. Group

(UARG) v. EPA, 573 U.S. 302, 324 (2014) (quoting FDA v. Brown & Williamson Tobacco Corp.,

529 U.S. 120, 159 (2000)). That skepticism is warranted here. In the nearly five decades since its

enactment, IEEPA has never been used to impose a general tariff. Presidents have invoked it to

freeze assets, block financial transfers, and impose targeted sanctions on hostile regimes and

individuals. But never to levy broad-based duties on imports. That settled practice confirms what

the statute’s text and legislative record already show: Congress did not grant tariff authority.




4
 CEA Chairman Steve Miran, Hudson Institute Event Remarks, The White House (Apr. 7,
2025), https://www.whitehouse.gov/briefings-statements/2025/04/cea-chairman-steve-miran-
hudson-institute-event-remarks/.

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        F.      The Court Has Repeatedly Rejected Sweeping Power From Ambiguous Text.

        In matters of vast political and economic consequence, the Supreme Court insists on

unmistakable legislative authority before allowing the Executive Branch to act. It is not a novel

doctrine but a longstanding interpretive principle: it is improbable that Congress means to transfer

vast swaths of its constitutional power without saying so directly. General language will not

suffice. The point here is not (as with the nondelegation doctrine) to limit Congress’s ability to

legislate, but to protect Congress from having its words twisted to unintended purposes.

        That principle, dubbed the “major questions doctrine,” applies with full force here. The

President has proclaimed a fundamental reordering of U.S. trade policy: a baseline 10% tariff on

nearly all imports, a 34% tariff on Chinese goods, and a 25% tariff on foreign automobiles—

without new legislation or specific congressional approval. The asserted authority rests on

statutory language not enacted for this purpose and never before used in this way. That, under

binding precedent, is not enough.

        The Court applied this principle decades ago in Brown & Williamson. There, it rejected the

FDA’s attempt to regulate tobacco under broad statutory language, noting that Congress had

legislated extensively in the area without granting that power. “[Congress] could not have intended

to delegate a decision of such economic and political significance in so cryptic a fashion.” 529

U.S. at 160. The Court refused to assume that Congress had granted sweeping authority without

saying so. As the Court warned, Congress does not “hide elephants in mouseholes.” Whitman v.

Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001).

        In Alabama Ass’n of Realtors v. Dep’t of Health & Hum. Servs., 594 U.S. 758 (2021), the

Court struck down the CDC’s attempt to extend a nationwide eviction moratorium under general

public health authority. The relevant statute allowed measures to prevent disease transmission, but

none of the enumerated measures bore any resemblance to moratorium on evictions. That mattered.
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The Court emphasized that sweeping economic actions require unmistakable legislative

approval—particularly where Congress had considered and declined to extend the policy itself.

The CDC’s reliance on broad language was not enough.

        Similarly, Nat’f Fed’n of Indep. Bus. v. Dep’t of Labor, 595 U.S. 109 (2022), invalidated

OSHA’s nationwide vaccine-or-test mandate, holding that such a significant policy required

explicit congressional authorization. Though OSHA invoked its general authority to regulate

workplace safety, the Court found that such sweeping measures could not rest on generalized

statutory terms. The Executive may not transform a broad statute into a blank check for nationwide

regulation—particularly when fundamental personal and economic rights are at stake.

        The situation here is analogous to these cases. Like the CDC, the President relies on a few

generalized words (“regulate” and “importation”) in a statute designed for narrow, targeted

emergencies to justify a dramatic, long-term economic intervention. And as in Alabama

Association, Congress has not merely failed to speak clearly—it has expressly declined to

authorize the action now claimed. Cf. Youngstown, 343 U.S. at 586 (noting that Congress had

considered and declined to grant the President authority to seize private property in response to

labor disputes). When faced with Richard Nixon’s unprecedented assertion of a unilateral tariff

power under the TWEA, Congress repealed the TWEA and replaced it with the Trade Act, which

allowed adjustment of tariffs under strict procedural, substantive, and temporal limitations, enacted

IEEPA to address non-tariff economic sanctions, and subjected all emergency declarations to

direct congressional control. That history cannot be rewritten by implication or executive

interpretation.

        Interpreting IEEPA to authorize tariffs would also invite a grave nondelegation problem.

The statute supplies no intelligible principle to guide the President in determining when, how, or



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to what extent duties should be imposed If construed to allow the imposition of tariffs without

meaningful limits or standards, IEEPA would amount to an open-ended delegation of legislative

power—precisely what the nondelegation doctrine forbids. In J.W. Hampton, Jr. & Co. v. United

States, 276 U.S. 394 (1928), the Court upheld a tariff delegation only because it was governed by

an “intelligible principle” and confined to narrow bounds. As the Court explained in Whitman v.

American Trucking Associations, Congress must “lay down by legislative act an intelligible

principle to which the person or body authorized to [act] is directed to conform.” 531 U.S. 457,

472 (2001) (citation omitted). That principle is absent here with respect to trade duties.

                                          CONCLUSION

        The Court should reject the government vision of executive power—not merely because it

lacks statutory support, but because it permits arbitrary taxation untethered from the constitutional

processes designed to safeguard liberty. The separation of powers remains the first and strongest

safeguard of liberty in a constitutional republic. It must be upheld here.

        The Court should grant plaintiffs’ request for relief because plaintiffs are likely to succeed

on the merits.

Respectfully submitted,

                                                              /s/ Daniel W. Wolff
Michael W. McConnell                                          Daniel W. Wolff (Bar No. 486733)
559 Nathan Abbott Way                                         Crowell & Moring LLP
Stanford, CA 94305                                            1001 Pennsylvania Avenue, NW
Telephone: (650) 736-1326                                     Telephone: (202) 628-5116
Email: mcconnell@law.stanford.edu                             Email: dwolff@crowell.com

Of Counsel                                                    Attorney to Amici Curiae



Dated: May 7, 2025




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                                  APPENDIX: LIST OF AMICI

The undersigned amici join this brief in their individual capacities. They do not represent any party
to this matter. Institutional affiliations are provided for identification only and do not reflect the
views or endorsements of their employers.

George F. Allen served as Governor of Virginia from 1994 to 1998 and as a United States Senator
from 2001 to 2007. Earlier in his career, he represented Virginia in the U.S. House of
Representatives and served in the Virginia House of Delegates.

Steven G. Calabresi is the Clayton J. & Henry R. Barber Professor at Northwestern Pritzker
School of Law. He served as Special Assistant to Attorney General Edwin Meese from 1985 to
1987 and as Chief Aide to the Hon. T. Kenneth Cribb, Assistant to President Ronald Reagan for
Domestic Affairs, in the West Wing of the White House.

Joshua A. Claybourn is an attorney who advises public-sector clients—including legislative
bodies—on constitutional and administrative law. His legal and historical scholarship focuses on
the separation of powers and the constitutional legacy of the early Republic and Abraham Lincoln.

John C. Danforth served as a United States Senator from Missouri and as U.S. Ambassador to
the United Nations. Prior to his Senate tenure, he was Attorney General of Missouri for eight years.
He currently serves on the national advisory board of the John C. Danforth Center on Religion and
Politics at Washington University.

Richard A. Epstein* is the Laurence A. Tisch Professor of Law at New York University School
of Law, the Peter and Kirsten Bedford Senior Fellow at the Hoover Institution at Stanford
University, and the James Parker Hall Distinguished Service Professor Emeritus and Senior
Lecturer at the University of Chicago Law School.

Charles T. Hagel represented Nebraska in the United States Senate from 1997 to 2009, where he
served on the Foreign Relations and Intelligence Committees. He served as the 24th United States
Secretary of Defense from 2013 to 2015 and as co-chairman of the President’s Intelligence
Advisory Board from 2009 to 2013.

Harold Hongju Koh is Sterling Professor of International Law and former Dean at Yale Law
School. From 2009 to 2013, he served as Legal Adviser to the United States Department of State,
and from 1998-2001, he served as Assistant Secretary of State for Democracy, Human Rights and
Labor.

Gerard N. Magliocca is a Distinguished Professor and the Lawrence A. Jegen III Professor at the
Indiana University Robert H. McKinney School of Law. A leading scholar of constitutional law
and constitutional history, he is the author of five books and dozens of articles exploring the



* Professor Epstein serves on the board of directors of the Liberty Justice Center,

which represents Plaintiffs in this case. He has not been involved in the litigation.

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evolution of American constitutional thought, with a focus on the Founding era and
Reconstruction.

Michael W. McConnell is the Richard and Frances Mallery Professor of Law and Director of the
Constitutional Law Center at Stanford Law School, and a Senior Fellow at the Hoover Institution.
From 2002 to 2009, he served as Circuit Judge on the United States Court of Appeals for the Tenth
Circuit. He served on the President’s Intelligence Oversight Board under Presidents Reagan and
Bush. He is author of THE PRESIDENT WHO WOULD NOT BE KING: EXECUTIVE POWER UNDER THE
CONSTITUTION (Princeton Univ. Press 2020).

Michael B. Mukasey was Attorney General of the United States from 2007 to 2009. Earlier, he
sat on the U.S. District Court for the Southern District of New York from 1988 to 2006, serving
the last six years as Chief Judge. Before joining the bench, he tried complex cases as an Assistant
U.S. Attorney in that district and later handled commercial litigation in private practice. Today he
advises clients and speaks and writes on national‑security and constitutional law.

Alan O. Sykes is a Professor at Stanford Law School, where he serves as Director of the LL.M.
Program in International Economic Law, Business and Policy. He is also a Senior Fellow at the
Stanford Institute for Economic Policy Research. He is co-author of Legal Problems of
International Economic Relations (7th ed. 2021), a leading casebook in the field.

Judge John Daniel Tinder (Ret.) served as a judge on the United States Court of Appeals for the
Seventh Circuit from 2007 to 2015, and on the United States District Court for the Southern
District of Indiana from 1987 to 2007. Prior to his judicial service, he was the United States
Attorney for the Southern District of Indiana from 1984 to 1987.

Peter J. Wallison is a Senior Fellow Emeritus at the American Enterprise Institute. He
previously served as General Counsel of the U.S. Department of the Treasury and as White
House Counsel to President Ronald Reagan.

Philip Zelikow is the Botha-Chan Senior Fellow at Stanford University’s Hoover Institution and
formerly held a chaired professorship in history at the University of Virginia, where he directed
the nation’s foremost center for the study of the presidency. He served as Counselor of the U.S.
Department of State under President George W. Bush, was a member of the National Security
Council staff during the George H.W. Bush administration, and directed the 9/11 Commission.
He also served on the President’s Intelligence Advisory Board under both Presidents George W.
Bush and Barack Obama.




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